              Case 1:14-cr-00227-TCB-RGV Document 152 Filed 11/08/16 Page 1 of 2




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

             UNITED STATES OF AMERICA                    CRIMINAL FILE NO.
                          v.                             1:14-CR-227-TCB
             DAVID LEE,
                               Defendant.

                                              ORDER

                  A jury failed to reach a verdict on Count 1 of the Indictment against

             Defendant Lee, and an order of mistrial was entered on October 18, 2016.

             The Government has declared its intention to re-try Mr. Lee. Defendant

             Lee, after consulting with his attorney, has agreed that the second trial be

             set for June 12, 2017.

                  Therefore the trial shall now commence on June 12, 2017, at

             9:30 a.m. in Courtroom 2106 of the United States District Court in

             Atlanta. The pretrial conference is continued until June 7, 2017 at

             10:00 a.m. in Courtroom 2106. Motions in limine and proposed voir dire

             shall be filed on or before May 22, 2017, and responses to motions in

             limine shall be filed on or before May 29, 2017. Only one consolidated

             motion in limine shall be filed by each party and the motion shall not




AO 72A
(Rev.8/82)
              Case 1:14-cr-00227-TCB-RGV Document 152 Filed 11/08/16 Page 2 of 2




             exceed 25 pages. The response brief to the motion in limine shall not

             exceed 25 pages.

                  The time between November 7, 2016 and the beginning of the trial

             on June 12, 2017, shall be excluded in calculating the date on which the

             trial of this case must commence under the Speedy Trial Act because the

             Court finds that the delay is for good cause, and the interests of justice in

             granting the continuance outweigh the right of the public and the right of

             the defendant to a speedy trial, pursuant to 18 U.S.C. § 3161, et seq.

                  IT IS SO ORDERED this 8th day of November, 2016.




                                                _________________________________
                                                TIMOTHY C. BATTEN, SR.
                                                UNITED STATES DISTRICT JUDGE




                                                   2




AO 72A
(Rev.8/82)
